     Case 2:19-ml-02905-JAK-MRW Document 854 Filed 01/05/24 Page 1 of 3 Page ID #:26701

                                        Office of the Clerk
                       United States Court of Appeals for the Ninth Circuit
                                      Post Office Box 193939
                               San Francisco, California 94119-3939
                                           415-355-8000                              FILED
Molly C. Dwyer
Clerk of Court                                                                         JAN 5 2024
                                                                                  MOLLY C. DWYER, CLERK
                                                                                   U.S. COURT OF APPEALS

                                      DOCKETING NOTICE


       Docket Number:           24-76
       Originating Case Number: 2:19-ml-02905-JAK-MRW

       Short Title:                 Altier, et al. v. Toyota Motor North America, Inc, et al.

      Dear Appellant/Counsel


      A copy of your notice of appeal/petition has been received in the Clerk's office of the
      United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
      number shown above has been assigned to this case. You must indicate this Court of
      Appeals docket number whenever you communicate with this court regarding this case.
      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.
      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.
      Failure of the appellant to comply with the time schedule order may result in
      dismissal of the appeal.
      Please read the enclosed materials carefully.
      Case 2:19-ml-02905-JAK-MRW Document 854 Filed 01/05/24 Page 2 of 3 Page ID #:26702

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court



                                   TIME SCHEDULE ORDER


        Docket Number:           24-76
        Originating Case Number: 2:19-ml-02905-JAK-MRW

        Case Title:                Altier, et al. v. Toyota Motor North America, Inc, et al.



        Wednesday, January 10, 2024
        John Kress                                         Mediation Questionnaire due
        Diane Haase                                        Mediation Questionnaire due

        Thursday, January 11, 2024
        John Kress                                         Appeal Transcript Order Due
        Diane Haase                                        Appeal Transcript Order Due

        Monday, February 12, 2024
        John Kress                                         Appeal Transcript Due
        Diane Haase                                        Appeal Transcript Due

        Thursday, March 21, 2024
        John Kress                                         Appeal Opening Brief Due
        Diane Haase                                        Appeal Opening Brief Due

        Monday, April 22, 2024
        Mark Altier                                        Appeal Answering Brief Due
        Alejandra Renteria                                 Appeal Answering Brief Due
        Samuel Choc                                        Appeal Answering Brief Due
        Tatiana Gales                                      Appeal Answering Brief Due
Case 2:19-ml-02905-JAK-MRW Document 854 Filed 01/05/24 Page 3 of 3 Page ID #:26703

 Gary Samouris                                         Appeal Answering Brief Due
 Michael Hines                                         Appeal Answering Brief Due
 Brent DeRouen                                         Appeal Answering Brief Due
 Danny Hunt                                            Appeal Answering Brief Due
 Evan Green                                            Appeal Answering Brief Due
 Joy Davis                                             Appeal Answering Brief Due
 Dee Roberts                                           Appeal Answering Brief Due
 Toyota Motor North America, Inc                       Appeal Answering Brief Due
 Toyota Motor Sales, USA                               Appeal Answering Brief Due
 Toyota Motor Engineering and Manufacturing            Appeal Answering Brief Due
 North America, Inc


If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.2. If there were no reported
hearings, the transcript deadlines do not apply.
The optional reply may be filed within 21 days of service of the answering brief. See
Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
Failure of the appellant to comply with the time schedule order may result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.
